        Case 8:25-cv-00951-PX          Document 51        Filed 04/10/25      Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                           *

        Plaintiffs,                              *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                            *

KRISTI NOEM, Secretary,                          *
United States Department                         *
of Homeland Security, et al.,                    *

        Defendants.
                                               *
                                              ***
                                             ORDER

        The Supreme Court’s April 10, 2025 decision in Noem v. Abrego Garcia, 604 U.S.—–,

No. 24A949, affirmed this Court’s Order at ECF No. 21 (the “Order”), and directed that on

remand, this Court clarify its use of the term “effectuate,” according proper deference to the

Executive Branch in its conduct of foreign affairs. See Slip Op. at 2. To this end, the Court

hereby amends the Order to DIRECT that Defendants take all available steps to facilitate the

return of Abrego Garcia to the United States as soon as possible.

        Further, as the Supreme Court made clear, “the Government should be prepared to share

what it can concerning the steps it has taken and the prospect of further steps.” See Slip Op. at 2.

Accordingly, the Court DIRECTS Defendants to file, by no later than 9:30 AM ET on Friday,

April 11, 2025, a supplemental declaration from an individual with personal knowledge,

addressing the following: (1) the current physical location and custodial status of Abrego Garcia;

(2) what steps, if any, Defendants have taken to facilitate Abrego Garcia’s immediate return to

the United States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. To the extent Defendants believe any portion of their submission must be filed under



                                                 1
        Case 8:25-cv-00951-PX         Document 51        Filed 04/10/25     Page 2 of 2



seal, they shall comply with the Court’s Local Rules governing the sealing of materials. See D.

Md. Loc. R. 105.11.

       Finally, the Court will hold an in-person status conference on Friday, April 11, 2025, at

1:00 PM ET, at the United States District Court for the District of Maryland, 6500 Cherrywood

Lane, Greenbelt, Maryland 20770.


      April 10, 2025                                               /S/
   Date                                                     Paula Xinis
                                                            United States District Judge




                                                2
